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                EXHIBIT 3
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                         §
                                                §
               Plaintiffs,                      §
                                                §
        v.                                      §   Case No. 1:18-CV-68
                                                §
UNITED STATES OF AMERICA, et al.,               §
                                                §
               Defendants,                      §
                                                §
and                                             §
                                                §
KARLA PEREZ, et al.,                            §
                                                §
               Defendant-                       §
               Intervenors.                     §


      DEFENDANT-INTERVENORS’ THIRD SET OF DISCOVERY REQUESTS TO
                            DEFENDANTS

TO: Defendants United States of America, et al., by and through their attorney of record,
Jeffrey S. Robins, U.S. Department of Justice, Civil Division, Office of Immigration Litigation,
District Court Section, P.O. Box 868, Washington, D.C. 20044 (Jeffrey.Robins@usdoj.gov).

        Pursuant to the Federal Rules of Civil Procedure and the Court’s Scheduling Order issued

on May 30, 2018 (ECF No. 53), Defendant-Intervenors hereby serve these discovery requests on

Defendants. You are requested to serve your responses to these discovery requests upon the

undersigned counsel for Defendant-Intervenors within 10 days of service of these requests.

Dated: June 10, 2018                                Respectfully submitted,

                                                    MEXICAN AMERICAN LEGAL
                                                    DEFENSE AND EDUCATIONAL FUND
                                                    By: /s/ Nina Perales
                                                    Nina Perales (Tex. Bar No. 24005046);
                                                    (SD of Tex. Bar No. 21127)
                                                    Attorney-in-Charge
                                                    Celina Moreno (Tex. Bar No. 24074754)

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                                                   (SD of Tex. Bar No. 2867694)
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                                                   GARCÍA & GARCÍA,
                                                   ATTORNEYS AT LAW P.L.L.C.
                                                   Carlos Moctezuma García
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                                                   Attorneys for Defendant-Intervenors


                                CERTIFICATE OF SERVICE

        I hereby certify that, on June 10, 2018, I served a copy of this document by electronic
mail to all counsel listed below:

Todd L. Disher
Special Counsel for Civil Litigation
P.O. Box 12548
Austin, TX 78711-2548
Todd.Disher@oag.texas.gov

Jeffrey S. Robins
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                                                   /s/ Alejandra Ávila
                                                   Alejandra Ávila



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                                    I.      DEFINITIONS

   The following terms are defined and used in these discovery requests as follows:

A. The words “and” and “or” shall be construed either conjunctively or disjunctively as
   required by the context to bring within the scope of these requests any document that
   might be deemed outside its scope by another construction.

B. “Communication” or “communications” shall mean and include every manner or means
   of disclosure, transfer, or exchange, and every disclosure, transfer, or exchange of
   information, whether orally or by document or whether face-to-face, by telephone, mail,
   e-mail, personal delivery, or otherwise.

C. “Defendants” shall refer to the named Defendants in this case, and any other persons
   acting or purporting to act on their behalf.

D. “Document” and “documents” are defined to be synonymous in meaning and equal in
   scope to the usage of the terms in Federal Rule of Civil Procedure 34(a), in its broadest
   sense, and shall mean and include all written, printed, typed, recorded or graphic matter
   of every kind and description, both originals and copies, and all attachments and
   appendices thereto, that are in the possession, custody or control of Defendants or in the
   possession, custody or control of counsel for Defendants. A draft of a non-identical copy
   is a separate document within the meaning of this term. Without limiting the term
   “control,” a document is deemed to be within your control if you have ownership,
   possession or custody of the document, or the right to secure the document or copy
   thereof from any persons or public or private entity having physical control thereof.

E. The term “DACA initiative,” “DACA program,” or “DACA” shall refer to the guidance
   on exercising prosecutorial discretion with respect to individuals who came to the United
   States as children, as described in the June 15, 2012 memorandum by former Secretary of
   Homeland Security, Janet Napolitano.

F. The term “DACA recipients” shall mean a person who has been granted deferred action
   pursuant to the DACA initiative.

G. The term “USCIS” shall mean United States Citizenship and Immigration Services.

H. The term “DHS” or “Department of Homeland Security” shall mean the United States
   Department of Homeland Security, or any of its components, including USCIS, or any
   employees, agents, or other persons acting or purporting to act on the agency’s behalf.

I. “Plaintiff State” shall refer to each of the named Plaintiff states in this case, and any other
   persons acting or purporting to act on its behalf.

J. To “identify” an individual means to state that individual’s:
      a. full name;

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       b. current or last known telephone numbers at business and home; and
       c. current or last known business and home addresses.

K. To “identify” a person means to give, to the extent known, the person’s full name, present
   or last known address, and when referring to a natural person, additionally, the present or
   last known place of employment. Once a person has been identified in accordance with
   this subparagraph, only the name of that person need be listed in response to subsequent
   discovery requesting the identification of that person.

L. To “identify” an act, event, occurrence or communication means:
      a. to state its date;
      b. to identify the persons that were parties to and witnesses of the act, event, or
          occurrence, or communication;
      c. to describe where and how it took place; and
      d. to identify any document that constitutes or refers to such act, event, occurrence,
          or communication.

M. To “identify” a file means:
      a. to state the title contained therein; and
      b. to identify the person for whom the file is maintained.

N. To “identify” a statement means:
      a. to identify who made it;
      b. to identify who took or recorded it;
      c. to identify all persons, if any, present during the making thereof;
      d. to state when, where and how it was taken or recorded; and
      e. to identify who has current or last know possession, custody or control thereof.

O. To “identify” a document means:
      a. to identify all files in which it and all copies of it are found;
      b. to identify its author;
      c. to identify its addresses, if any;
      d. to identify those who received a copy thereof;
      e. to identify its current custodian or the person that had last known possession,
          custody or control thereof;
      f. to state the date of its preparation; and
      g. to state its general subject matter giving a reasonably detailed description thereof.

P. To “identify” other tangible thing means:
      a. to identify what it is, giving a reasonably detailed description thereof;
      b. to state when, where and how it was made, if applicable;
      c. to identify who made it, if applicable; and
      d. to identify its current custodian or the person that had last known possession,
          custody or control thereof.

Q. The plural of any word used herein includes the singular, and the singular includes the

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   plural.

R. The masculine gender of any word used herein includes the feminine and the neutral
   genders.

S. The past tense of any verb used herein includes the present tense, and the present tense
   includes the past tense.

T. The term “relating to” shall have its usual meaning and shall also specifically mean
   reflecting, related to, referring to, describing, representing, evidencing or constituting.

U. Without limiting the term “control,” a document is deemed to be within your control if
   you have ownership, possession or custody of the document, or the right to secure the
   document or copy thereof from any persons or public or private entity having physical
   control thereof.

V. “Person” shall mean any individual, association, agency, commission, or other legal or
   governmental entity or association.

W. “Statement” means and includes any written or graphic statement signed or otherwise
   adopted or approved by the users in making it, any stenographic, mechanical, electrical or
   other recording or a written transcription which is a substantially verbatim recital or an
   oral statement made by a person which is contemporaneously recorded.

X. “You” and “your” shall mean the United States, as well as all other persons acting or
   purporting to act on behalf of the United States, including any attorney or other
   representative.

                                   II.     INSTRUCTIONS

   A.        Regarding documents called for by these requests as to which you claim a
             privilege or which you contend are not subject to production, please provide at the
             time for production a listing that describes each document and states with respect
             to each such document:
                 1. the type of document (e.g., letter, memorandum, report, etc.,);
                 2. the date;
                 3. the title;
                 4. the number of pages;
                 5. the author or addressor;
                 6. the names and address or addresses of any persons who have received
                     and/or who have obtained a copy of the document;
                 7. the subject matter of the document;
                 8. the factual and legal basis of the claim or privilege or ground of non-
                     production asserted with respect to the document; and
                 9. any other information which, without revealing the information which is
                     itself privileged or protected, will enable the plaintiffs to assess the

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               application of the privilege asserted.

  B.    If you contend that you are unable to produce fully and completely the documents
        requested herein, or any portion thereof, after exercising due diligence to locate
        those documents, please so state, specifying the basis for such limited production,
        the reasons for the inability to produce the documents requested, whether said
        documents have been destroyed and why, and whatever information or knowledge
        you may have related to the location of such documents.

  C.    Unless the context clearly requires otherwise, this request for documents includes
        all documents within your custody or control, those within the custody or control
        of each of your attorneys, agents, associates, and/or employees, and those to
        which any of these persons has access.

  D.    For all documents in electronic, magnetic, or format other than paper, please
        produce in the following formats: printed hardcopy or electronic (700 Mb
        compact disk, Microsoft Word 2003 or later).

  E.    If the documents are provided on an FTP site, a) all documents must be produced
        in a way that makes clear the exact location on the FTP site of materials
        responsive to each numbered request.


                                 III.    WARNINGS

  A.    A failure to produce the documents requested on time or in good faith may result
        in sanctions being imposed against you under Rule 37 of the Federal Rules of
        Civil Procedure.

  B.    An evasive or incomplete production will be treated as a failure to produce the
        requested documents.




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                                   INTERROGATORIES
INTERROGATORY NO. 3

       Please identify the number of initial DACA applications received by the Department of
Homeland Security from each Plaintiff State for each month during the period of June 2012 to
June 2018, and identify, of that number:

       a. the number of initial DACA applications approved by the Department of Homeland
          Security from each Plaintiff State for each month during the period of June 2012 to
          June 2018.
       b. the number of initial DACA applications denied by the Department of Homeland
          Security from each Plaintiff State for each month during the period of June 2012 to
          June 2018.
       c. the number of initial DACA applications rejected by the Department of Homeland
          Security from each Plaintiff State for each month during the period of June 2012 to
          June 2018.

RESPONSE


INTERROGATORY NO. 4

       Please identify the number of renewal DACA applications received by the Department of
Homeland Security from each Plaintiff State for each month during the period of June 2012 to
June 2018, and identify, of that number:

       a. the number of renewal DACA applications approved by the Department of Homeland
          Security from each Plaintiff State for each month during the period of June 2012 to
          June 2018.
       b. the number of renewal DACA applications denied by the Department of Homeland
          Security from each Plaintiff State for each month during the period of June 2012 to
          June 2018.
       c. the number of renewal DACA applications rejected by the Department of Homeland
          Security from each Plaintiff State for each month during the period of June 2012 to
          June 2018.

RESPONSE



INTERROGATORY NO. 5

       Please identify the average number of months it took USCIS to adjudicate an accepted


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DACA initial application:

       a. For the period of June 2012 to January 2017
       b. For the period of February 2017 to June 2018

RESPONSE


INTERROGATORY NO. 6

     Please identify the average number of months it took USCIS to adjudicate an accepted
DACA renewal application:

       a. For the period of June 2014 to January 2017
       b. For the period of February 2017 to June 2018

RESPONSE


INTERROGATORY NO. 7

       Please identify the offices within USCIS that evaluate and adjudicate DACA
applications.

RESPONSE


INTERROGATORY NO. 8

        Please identify the number of DACA applications adjudicated at each of the five service
centers within the USCIS Service Center Operations Directorate (SCOPS) each year for the
period of June 2012 to June 2018.

RESPONSE


INTERROGATORY NO. 9
        Please identify the number of DACA initial applications USCIS has accepted and denied
from each Plaintiff State for each month during the period of June 2012 to June 2018, and
identify, from among that number:

       a. the number of DACA applications denied at least in part because the applicant was a
          suspected gang member, from each Plaintiff State for each month during the period of
          June 2012 to June 2018.


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       b. the number of DACA applications denied at least in part because the applicant posed
          a threat to national security or public safety, from each Plaintiff State for each month
          during the period of June 2012 to June 2018.
       c. the number of DACA applications denied after the adjudicator determined the
          applicant met the five criteria outlined in the 2012 DACA memorandum.


RESPONSE



INTERROGATORY NO. 10
        Please identify the number of DACA renewal applications USCIS has accepted and
denied from each Plaintiff State for each month during the period of June 2012 to June 2018, and
identify, from among that number:

       a. the number of DACA applications denied at least in part because the applicant was a
          suspected gang member, from each Plaintiff State for each month during the period of
          June 2012 to June 2018.
       b. the number of DACA applications denied at least in part because the applicant posed
          a threat to national security or public safety, from each Plaintiff State for each month
          during the period of June 2012 to June 2018.
       c. the number of DACA applications denied after the adjudicator determined the
          applicant met the five criteria outlined in the 2012 DACA memorandum.

RESPONSE



INTERROGATORY NO. 11
        Please identify the number of initial DACA applications USCIS has accepted and
subsequently issued Requests for Evidence (“RFEs”) from each Plaintiff State for each month
during the period of June 2012 to June 2018, and identify, from among that number:

       a. the number of RFEs related to whether the applicant was under the age of 31 as of
          June 15, 2012;
       b. the number of RFEs related to whether the applicant came to the United States before
          reaching his or her 16th birthday;
       c. the number of RFEs related to whether the applicant has continuously resided in the
          United States since June 15, 2007, up to the time of application;
       d. the number of RFEs related to whether the applicant was physically present in the
          United States on June 15, 2012, and at the time of making the request for
          consideration of deferred action;
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       e. the number of RFEs related to whether the applicant had no lawful status on June 15,
          2012;
       f. the number of RFEs related to whether the applicant was currently in school,
          graduated or obtained a certificate of completion from high school, obtained a general
          education development (GED) certificate, or was an honorably discharged veteran of
          the Coast Guard or Armed Forces of the United States;
       g. the number of RFEs related to whether the applicant had not been convicted of a
          felony, significant misdemeanor, or three or more other misdemeanors, and did not
          otherwise pose a threat to national security or public safety.

RESPONSE



INTERROGATORY NO. 12

        Please identify the number of renewal DACA applications USCIS has accepted and
subsequently issued Requests for Evidence (“RFEs”) from each Plaintiff State for each month
during the period of June 2012 to June 2018, and identify, from among that number:

       a. the number of RFEs related to whether the applicant was under the age of 31 as of
          June 15, 2012;
       b. the number of RFEs related to whether the applicant came to the United States before
          reaching his or her 16th birthday;
       c. the number of RFEs related to whether the applicant has continuously resided in the
          United States since June 15, 2007, up to the time of application;
       d. the number of RFEs related to whether the applicant was physically present in the
          United States on June 15, 2012, and at the time of making the request for
          consideration of deferred action;
       e. the number of RFEs related to whether the applicant had no lawful status on June 15,
          2012;
       f. the number of RFEs related to whether the applicant was currently in school,
          graduated or obtained a certificate of completion from high school, obtained a general
          education development (GED) certificate, or was an honorably discharged veteran of
          the Coast Guard or Armed Forces of the United States;
       g. the number of RFEs related to whether the applicant had not been convicted of a
          felony, significant misdemeanor, or three or more other misdemeanors, and did not
          otherwise pose a threat to national security or public safety.

RESPONSE




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INTERROGATORY NO. 13

       Please identify the number of approved, initial DACA applications submitted by
individuals who indicated on their I-821D, in response to Part 3. Question 4., that their
immigration status on June 15, 2012 was “Status Expired” or “Parole Expired,” and who
answered in the affirmative in response to Part 3. Question 5.a. (“Were you EVER issued an
Arrival-Departure Record”), for each Plaintiff State for each month during the period of June
2012 to June 2018.

RESPONSE


INTERROGATORY NO. 14

       Please identify the number of DACA recipients who adjusted their status to lawful
permanent resident, for each Plaintiff State for each month during the period of June 2012 to
June 2018, and identify among that number:

       a. the number of DACA recipients who adjusted under 8 U.S.C. 1255(i)
       b. the number of DACA recipients who adjusted under 8 U.S.C. 1255(a)

RESPONSE



                              REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 5:

Produce all documents relating to guidelines followed by DHS, and any of its subsidiary
agencies, departments, agents, and employees, to evaluate, process, and adjudicate Deferred
Action for Childhood Arrivals (“DACA”) applications, including, but not limited to: (1) internal
agency documents, memoranda, and communications that set forth any guidance, rules, or
procedures that agents and employees follow when they evaluate, process, and adjudicate DACA
applications; (2) training materials provided to agents or employees related to DACA
evaluations and adjudications; and (3) changes following January 20, 2017 in any guidance,
rules, or procedures that agents and employees follow when they evaluate, process, and
adjudicate DACA applications.

RESPONSE:



REQUEST FOR PRODUCTION NO. 6:


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Produce all documents relating to the process by which DHS, and any of its subsidiary agencies,
departments, agents, and employees, evaluates, processes, and adjudicates DACA applications,
including but not limited to: (1) under what circumstances a DACA application is rejected,
denied, or approved; (2) the number and location of agents and employees whose work relates to
the evaluation and adjudication of DACA applications; (3) the procedure(s) employed by agents
and employees who work in the evaluation and adjudication of DACA applications; and (4)
changes in the process for evaluating, processing, and adjudicating DACA applications
following January 20, 2017.

RESPONSE:



REQUEST FOR PRODUCTION NO. 7:

Produce documents showing the number of DACA applications received, rejected, denied, and
approved, including but not limited to: (1) the number of initial DACA applications received,
rejected, denied, and approved by each Plaintiff state, for each month during the period of June
2012 to June 2018; (2) the number of renewal DACA applications received, rejected, denied, and
approved by each Plaintiff state, for each month during the period of June 2012 to June 2018;
and (3) the number of DACA applications accepted but denied, during the period of June 2012 to
June 2018, after the adjudicator determined the applicant met the five criteria in the June 15,
2012 DACA memorandum but was otherwise not a qualifying applicant, including because the
applicant posed a threat to national security or public safety, by each Plaintiff state, for each
month.

RESPONSE:



REQUEST FOR PRODUCTION NO. 8:

Produce all documents relating to process by which DHS, and any of its subsidiary agencies,
departments, agents, and employees, evaluates and adjudicates applications or requests for
deferred action other than DACA, including but not limited to: (1) under what circumstances an
application or request is rejected, denied, or accepted; (2) the number and location of agents and
employees whose work relates to the evaluation and adjudication of deferred action applications
or requests; (3) and the procedure(s) employed by agents and employees who work in the
evaluation and adjudication of deferred action applications or requests; and (4) any changes in
the process by which DHS evaluates and adjudicates applications or requests for deferred action
other than DACA since January 20, 2017.

RESPONSE:


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REQUEST FOR PRODUCTION NO. 9:

Produce all documents relating to the number of DACA applications received, rejected, denied,
and approved at each of the five USCIS Service Centers, including but not limited to: (1) the
number of initial DACA applications received, rejected, denied, and approved from each
Plaintiff state, every month, during the period of June 2012 to June 2018; and (2) the number of
renewal DACA applications received, rejected, denied, and approved from each Plaintiff state,
every month, during the period of June 2012 to June 2018.

RESPONSE:



REQUEST FOR PRODUCTION NO. 10:

Produce all documents relating to the USCIS processing time of accepted and approved DACA
applications, including but not limited to: (1) the amount of time that elapses between the date
USCIS accepts an application and the time the application is approved; (2) the amount of time
that elapses between the date USCIS approves an application and an applicant receives an
employment authorization document; and (3) any changes in the processing time described
above since January 20, 2017.

RESPONSE:




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